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                             For the Seventh Circuit
                                Office of the Clerk
                      219 South Dearborn Street, Room 2722
                             Chicago, Illinois 60604
                                  312-435-5850


August 30, 2019

Dear Clerk,


The U.S. Court of Appeals_received this document in error.

We -are forwarding it to the Western District of Wisconsin for your consideration. If you
have already received this document then please disregard this letter.


                                                Sincerely,

                                                Pro Se Clerk #3
,,


     Clerk of Courts
     United States Court of Appeal
     For The Seventh Circuit
     219 S. DearBorn St.
     Chicago, Ill. 60604.
     RE: Mark Girtler -v- Lt. Fedie; et al.
     Dist. Court Court case No. 19-cv-338.

     Deac Clerk,

     Please find enclosed one (1). o_riginal and three (3)copies of
                              f e..(0\,5St'(,n
     petitioner's Petition forAto Appeal in the above-entitled matter.
     I hereby certify that I have also sent a copy of the same by u~s.
     1st class mail to the Respondents at:

                   Eliot M. Held
                   Ass. Attorney General
                   P.O. Box 7857
                   Madison, WI. 53707

     Dated this J.3-. day of   ,AtLGE,5:C:    , 2019.

                   Petirrl:!dr Ap~~Pio-Se.
                   w.s.P.F.
                   P.O. Box 1000
                   Boscobel, WI. 53805.

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                                                   GINO J. AGNELLO
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                  IN THE UNITED STATES COURT OF APPEAL
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                        FOR THE SEVENTH CIRCUIT                           c   s)V
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- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -                          •iij




Mark Girtler,
     Plaintiff-Appellant

v.                                    Dist. Court Case No. 19-cv-338-bbc



LT. Fedie, et al,
     Defendant-Appellees



          PLAINTIFF'S PETITION FOR PERMISSION TO APPEAL.



     COMES now the Plaintiff, Mark Girtler "Girtler 0 hereafter,
proceeding herein Pro-Se, pursuant to Rule 5, Fed. R. of App. Proc.,
with his Petition fior.Permission to Appeal the opinion and order
of the District Court to deny his Motion for a Preliminary
Injunction entered on July 25th, 2019, in the United States
District Court for the Western District of Wisconsin, the Hon.
Barbara B. Crabb, Dist. Court Judge, Presiding.

         (A). FACTS NECESSARY TO UNDERSTAND
              THE QUESTION PRESENTED:

       On January 9th, 2019, Correctional Officer Stillweli ordered
Gictler to pack his property to move from unit D to unit C (DKT. 1
'ii 1)  ( DKT. 3Jl 4). Girtler told Stillwell that he had enemies in unit C and
would be in physical danger. (DKT.111 7). Sergeant Laxton was at the officers'
desk and overheard Girtler explanation, but ordered Girtler to pack his
property or dsk recieving a conduct report for disobeying a direct girder,, so
Girtler complied. (Id~ 8). After arriving at unit C, Girtler told
Sgt. McClimans, the unit Sgt., that another prisoner on unit C, ie
Banister had threatened to attack him if he (Girtler) did not pay
him extortion money, but McClimans did not take any action. Id. at
~ 9. The next day Banister came to Girtler's cell and demanded




                                       _'1 -
money.· Id. at 10. Girtler reported the incident to McClimans and
asked to be moved, but McClimans said he was too busy and refused
Id. at 11-12. The same day, Girtler told Lt. fedie aboutBanister 1 s
threats and asked to be moved immediately, but Fedie refused to
move Girtler immediately, and told him to file a Special Needs
(SPN) Request. Id. at fffl13-16.

   At approximately 7:30 A.M., on January 12, 2019, when Girtler
was on his way to breakfast, Banister attacked him, punching
Girtler in the head, face, chest, and shoulders. Id. at 17.
Girtler and Banister were both placed in Restrictive Housing
pending an investigation and after review of video footage
showing Girtler did not swing or fight back, he was released from
Restrictive Housing and no charges lodged against him. Id. at 20.

                        1
   Over Girtler s objections, he was sent back to unit D. There-
after, he filed for the SPN, which Security Director Kartman
denied. (Id.n~20-22) After arrival back on C unit, Girtler again
reported that he was informed Banister had sent a message to his
affiliate gang members to attack me. So I reported this~--
information to the unit manager iB;towti-:--=-'l, the Security Director
Kartman and the Warden, and requested to be moved to a different
unit. (DKT. 8, ~ 2). Nothing was done. Then, on March 4th, 2019,
Girtler was attacked again by a prisoner who was one of Baniste~s
fellow gang members, ie Brown. (Davidson Deel. ff8, EX. 1003 at
6-7). Girtler was again placed in the Restrictive Housing unit
pending an investigation of the incident and therefore was
informed by the Administrative Capt. that he would not be charged
and would again be released to go back to the General Population,
but would be moved back to the same unit again. Girtler refused
to go back to unit.C).where,.th~ assault happened. However before
he was scheduled for release or ordered to do so, he was ordered
to provide a urine sample. Girtler refused so that he would
recieve a conduct report, which was subsequently issued and he
remained in th~Restrictive Housing unit pending a1h~aring on the
report. He was subsequently found gui 1 t y of Disobeyint.t'orcte:c : and
given a Disposition of 120 days Disciplinary Seperation (DS). That
8!3" t~i;:l<;~l W&~::1rt~4Je~(!~-: by\ ~h~ :-:.'W~~d~IL1 t~h9(h-d~~s. ~n t § ~,:', bYL thta w~rfd§ft
on Appeal and Girtler was scheduled fpr release back into G.P. on


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'·
     July 22, 2019. Girtler was released from the Restrictive Housing
     unit and was placed on unit F, which is an overflow unit and
     transition unit where prisoners are temporary housed pending
     transfer to a regular G.P. housing unit. Girtler remains on this
     unit at the time of this Petition for Injuctive Relief on Appeal.

           (8) THE QUESTION ITSELF:

        1. Did Girtler present sufficient evidence to establish he is
        entitled to Injunctive Relief and is in immenent danger to his
        physical health and safety.

        Girtler argues in this Appeal the District Court mad~e~rus.eous
     factual determinations when it concluded hellhas not (1) submitted
     any evidence to show that [his]_request for Seperation should
     have been granted. (2) that Girtler is in any current danger or
     that irrepairable harm will result if the Injunction is not
     granted.

        The District Courts' determinated Girtler has not shown that he
     is with ... anyone who poses a risk to his safety ... with such
     individuals in the future' 1 .was erroneous. Additianally, the
     Court's conclusion Girtler failed to show a reasonable chance of
     success on the merits of [his] Eigth Ammendment claim against the
     correctional officers who carried out the change in housing unit''.

           (1B) EVIDENCE SHOWS GIRTLER 1 S REQUEST FOR THE SPN SHOULD
                HAD BEEN GRANTED.

         Girtler presented evidence in the form of his sworn statement
     in his Declaration that prior to being placed on C unit, he
     informed each of the Defendants that Banister was attempting to
     extort him for money and threatened to attack him if he did not
     pay him and asked to be moved immediately. The request was ignored
     and denied and soon thereafter Girtler was assaulted by this very
     prisoner. This incident showed the credibility of Girler's state-
     ment. And soon there~fter, as directed by Lt. Fedie, Girtler filed
     for a SPN against Banister, who was likely to attack him again
     because Girtler would not pay the extortion money.


                                      ~3-
   Thus, Girtler provided the name of the person who threatened
and actually attacked him, the dates when he was threatened and
prfvuosly attacked and the details for the percieved threats. And
in regard to the unknown names of the other gang members,
Defendants have the information in their data base of the
prisoners who are on that unit who are affiliated in the same gang,
ie. BlackStones, as Banister. Girtler could not supply the names
of the particular individuals who would carry out the next attack
because he   did not know all the prisoners on the unit that was in
Banister's   gang. So that determination was irrelevant. There was
sufficient   information provided to issue the SPN against Banister
alone, but   additionally, prisoners on the unit affiliated as Black-
stones.

      (1C) GIRTLER PRESENTED SUFFICIENT EVIDENCE TO ESTABLISH
             HE WILL BE PLACED BACK IN IMMINENT DANGERi

   Prior to being attacked by Bannister, Girtler provided
Defendants with his identity and the specific details why he felt
threatened, and informed them it was a imminent attack upon him
coming if not moved and just as predicted, he was attacked. Then,
after being released from the Restrictive Housing unit, Girtler
again requested to be moved and filed several inmate complaints
regacding not being moved because of being in imminent danger of
assault. See Def. Exhibits 1000-1008. No action was taken.

   Then, on May 4th, 2019, just as predicted, Girtler was attacked
again by one of Banister's fellow gang members which required
medical treatment. After which Girtler again was threatened to be
moved back again to the same unit, he then refused to obey an
order for a urine test, just so he would remain in Restrictive
Housing unit.

   Subsequent to his release from the Restrictive Housing unit,
after serving his sentence for not providing a urine sample, he
was housed on unit F, which is a temporary housing unit.

   Thus, there is sufficient evidence to show the likelyhood
Girtler will be placed back into imminent danger because (1)


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Defendants nave shown a pattering of placing him back on the same
unit where the gang members live, (2) refusal to place a SPN on
the gang members who attacked him or their gang members, and (3)
all of Girtler 1 s previous information that he would be assaulted
by these very same people, has occured. And Defendants have not
presented any evidence they will not keep Girtler seperate from
his attackers or their gang member affiliates. To the contrary,
Defendants make it clear they will do so, because they conclude
no future attacks would occur. This was an Erroneous conclusion
and contrary to the credible evidence.

      (1D) GIRTLER IS LIKELY TO SUCCEED ON THE MERITS OF HIS
           EIGHTH AMMENDMENT CLAIM AGAINST THE DEFENDANTS:

      In deciding this issue, the District Court stated:

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       Kartman and Taylor, who are not Defendants as to
      Plaintiff's Eighth Ammendment Claims, investigated
      Plaintiff's inmate complaints and reasonably determined
      that there was insufficient evidence from which to conclude
      that the altercation between Plaintiff and Bannister rose to
      the level of requiring the seperation of Plaintiff and
      Bannister. There is no evidence that the investigation was
      a sham or was not based on legitimate security and
      Administrative concerns. Further, Plaintiff admits he was
      not able to identify any other inmate apart from Banister
      who poses a threat to him ... without more, Plaintiff cannot
      show that he is likely to succeed on the merits of his
      eighth Ammendment Claim, or that he will suffer an
      irrepairable harm if the Injunction is not granted"',

Dist. Court Order at 5, dated July 25, 2019.

   These factual determinations has no bearing on whether Girtler
will succeed on his 8th Ammendment Claim.~

   Instead, the facts related to Plaintiff's 8th Ammendment claim
show he is likely: to succeed on his claim wherin the undisputed
facts show Girtler alerted Defendants that he was being threatened
and asked to be moved to a different unit. Girtler provided the
identity of the person who threatened him and the details of the
threat and why he was being so threatened. The Defendant took no
action to abate the serious risk to Girtler's health and safety.
And soon thereafter, he was physically attacked by the very
prisoner identified who posed the threat. Those undisputed facts
alone show Girtler is likely to succeed on the Merits on his
Eighth Ammendment Claim of failure to protect. CF. Babcock -v-
White, 102 ~ 3d. 267, 273-74 (7th Cir. 1996).

   Notwithstanding these undisputed facts, it is further
esstablished after the first attack by Banister, Defendant still
refused to place a Seperation Order between Girtler and him or his
gang member affiliates, who could have been easily identified from
Defendants data base, then returned Girtler back to the very unit
where he was attacked with members of Banister's gang, which shows
a complete Delliberate Indifference to his health and safety, and
wherein, Girtler was attacked again by members of the very same
gang member, ie. Brown, as that of Banister.

   Thereforet if these facts are proven true, which appear, not to
be in dispute, it is highly likely Girtler would succeed on the
merits of his claim.

      (IE) THE REASONS WHY THE APPEAL SHOULD BE ALLOWED   ,i   j




           AND IS AUTHORIZED BY STATUTE OR RULE:


   This Appeal should be allowed because Girtler remains, or will
be in the future, in imminent danger of his health and safety if
the Preliminary Injunction is not issued.

   Despite being repeatedly attacked by the same gang members,
Defendants refuse to issue a SPN. Girtler is presently housed on
a temporary transition unit, where he will be returned to the
General Population at any time, and housed again with the very
same gang members who assaulted him two times, and the District
Court 1 s factual determinations were clearly erroneous.




                                -6-
       STATUTE OR RULE AUTHORIZING THIS APPEAL:

   Girtler has sought this Appeal pursuant to Rule 5, of the Fed.
R. of App. Proc. Therein it provide, in pertinent part:

     (a) APPEAL BY PERMISSION
        (1). To request Permission to Appeal when the Appeal is
            within the Court of Appeals 11 Discretion, a party must
            file a Petition for permission to Appeal. The Petition
            must be filed with the Circuit Court Clerk with proof
            of service on all parties to the District Court action.

 ~   (b) CONTENTS OF THE PETITION: ANSWER OR CROSS PETITION
        (1). the contents of the Petition must include the following:
             (A). the facts necessary to understand the question
                  presented.
             (B). The question itself:

             (t). The Relief sought

             (D). The reasons why the Appeal should be allowed
                  and is authorized by Statute or Rule: And

             (g). Attached copy of: the order, decree or judgment
                 complained of ... 0

   Thus, this Permission to Appeal is properly before the Court
for it 1 s consideration.

                                cdNCLUSION


   WHEREFORE, Petioner respectfully move this Honorable Court to
GRANT thiij Petitd.hn for Permis$ion to Appeal. And upon Appeal, to
RBVBRSE the District Court's Order Denying Plaintiff 1 s Motion for
Preliminary Injunction.




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          RESPECTFULLY SUBMITTED.



Da t e d th i s   I3   day o f   .f\ u,_ G:t.s1   , 2 O1 9 •




          Petitioner-Appellant, Bro-Se
          Wisconsin Secure Program Facility
          P.O. Box 1000
          Boscobel, WI. 53805




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                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF WISCONSIN

               MARK GIRTLER,
                                                                                 OPINION AND ORDER
                                              Plaintiff,
                                                                                      l 9-cv-358-bbc
                               v.

               LT. FEDIE, SGT. MCCLIMANS,
               C.O. STILLWELL, SGT. LAXTON,
               WARDEN BOUGHTON and M. KARTMAN,

                                              Defendants.


                         Prose plaintiff Mark Girtler,\,,prisoner at the Wisconsin Secure Program Facility, is

               proceeding on an Eighth Amendment claim that defendants Lieutenant Fedie, Sergeant

               McClimans, Correctional Officer Stillwell and Sergeant Laxton failed to protect him from

               an attack by another inmate and returned him to the same housing unit where he was

               attacked. Before the court is plaintiff's motion and supplemental motion for a preliminary

               injunction in which he seeks a court order requiring that Warden Boughton and Security

               Director M. Kartman transfer him to another institution or keep him separated from the

               inmates who attacked him. Dkt. ##3 and 8. For the reasons below, the motions will be

               denied.




                                                           OPINION

                     Plaintiff has filed a motion for preliminary injunctive relief, requesting that the court

               order Warden Boughton and Security Director M. Kartman to transfer him to another
        /'


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                    As set forth in the fact section of the screening order, dkt. #9 at 2-3, which is

             incorporated by reference in this opinion, plaintiff alleges that defendant Stillwell moved

             plaintiff from the "D" housing unit to the "C" housing unit on January 9, 2019, even though

             plaintiff told Stillwell and defendant Laxton that he had "enemies" on Unit C and would be

             in physical danger. After arriving on Unit C, plaintiff told defendants McClimans and Fedie

             that inmate Banister had threatened to attack him. On January 12, 2019, Banister punched

             plaintiff while he was on his way to breakfast. After a brief stay" in restrictive housing,

             plaintiff was returned to Unit D, but at some point, he was transferred back to Unit C. On

             March 4, 2019, an inmate in Banister's gang attacked plaintiff, who was then taken to

             restrictive housing. Plaintiff alleges that he is or will be returned to Unit C and remains in

             danger.

                    In response to plaintiff's sworn statements, defendants have adduced the following

             evidence:

                       •   On January 14, 2019, plaintiff filed an inmate complaint concerning the
                           January 12, 2019 altercation with Banister.

                    •      On January 29, 2019, plaintiff submitted his first request to be kept
                           separate from Banister.

                    •      In order for staff to issue a special placement need separating inmates or
                           staff, the inmate must provide specific information, including names, dates
                           and details of the perceived threat of violence.

                    •      Lieutenant Taylor conducted an investigation, interviewed staff and
                           confidential informants and reviewed the incident reports related to the
                           January 12 altercation. Although the investigation revealed that plaintiff
                           may owe Banister money for prescription pills, Taylor did not find any
                           evidence to corroborate the details of the threat or attack as plaintiff had
                           described them.      The investigation showed that staff responded


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.')




            that there was insufficient evidence from which to conclude that the altercation between

            plaintiff and Banister rose to the level of requiring the separation of plaintiff and Banister.

            There is no evidence that the investigation was a sham or was not based on legitimate

            security and administrative concerns. Further, plaintiff admits that he is has not able to

            identify any other inmate apart from Banister who poses a threat to him.

                   Without more, plaintiff cannot show that he is likely to succeed on the merits of his

            Eighth Amendment claim or that he wiil suffer aif irreparable hanr: if the injunction is not

            granted. Although plaintiff's allegations were sufficient to pass the screening stage, his

            submissions fall far short of showing that he needs the extraordinary relief that he seeks.

            Accordingly, he is not entitled to injunctive relief at this time.




                                                       ORDER

                   IT IS ORDERED that plaintiff Mark Girder's motion and supplemental motion for

            preliminary injunctive relief, dkt. ##3 and 8, are DENIED.

                   Entered this 25th day of July, 2019.

                                                        BY THE COURT:

                                                        Isl

                                                        BARBARA B. CRABB
                                                        District Judge




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